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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE MOBILEYE GLOBAL SECURITIES
LITIGATION


                                                                               24 CIVIL 310 (DLC)
                                                                              24 CIVIL 1390 (DLC)


                                                                                JUDGMENT
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           It is, ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court’s Order dated April 23, 2025, the defendants' December 20, 2024 motion to

dismiss is granted; accordingly, the case is closed.


Dated: New York, New York
       April 23, 2025
                                                                          TAMMI M. HELLWIG
                                                                        _________________________
                                                                             Clerk of Court

                                                              BY:
                                                                        _________________________
                                                                              Deputy Clerk
